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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            EASTERN DIVISION

 VANESSA J. JONES                                                       PLAINTIFF
 doing business as
 Jones Law Firm

 V.                                            CASE NO: 2:23-cv-00003-HSO-BWR

 HIGH RISE FINANCIAL LLC and                                        DEFENDANTS
 MICHAEL MACKIE individually

SECOND ORDER SETTING DEADLINE FOR PLAINTIFF TO FILE PROOF
            OF EFFECTIVE SERVICE OF PROCESS

       This matter is before the Court sua sponte for a second time to address service

of process upon Defendants. One hundred and thirty (130) days have passed since the

Complaint was filed, and while Plaintiff purports to have served Defendants, the

summons returns [5][6] indicate ineffective service. Plaintiff’s failure “to properly

serve and file proof of service upon Defendants” by May 12, 2023 is a violation of the

Court’s Order [3] setting May 12, 2023 as the deadline for filing proof of effective

service upon Defendants.

       There are at least two problems with Plaintiff’s attempted service of process

on Defendants. First, Federal Rule of Civil Procedure 4(l)(1) provides that proof of

service must be made to the Court, and that “[e]xcept for service by a United States

marshal or deputy marshal, proof must be by the server’s affidavit.” Fed. R. Civ. P.

4(l)(1). Here, there is no indication that a United States marshal or deputy marshal

was the server, and the server did not complete the summons return affidavit. The

spaces provided for the server’s name and title, address, signature, and date are

blank. [5] at 1, [6] at 1.
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         Second, Plaintiff’s attempted service on Defendants via Federal Express was

neither proper under the Federal Rules of Civil Procedure, Mississippi Rules of Civil

Procedure, nor California law. See David B. Turner Builders LLC v. Weyerhaeser Co.,

No. 3:21-CV-309-KHJ-LGI, 2021 WL 5098283, at *3 (S.D. Miss. Nov. 2, 2021)

(“Federal Express is not a sufficient substitute for certified mail”); Inversiones

Papaluchi S.A.S. v. Superior Ct., 20 Cal. App. 5th 1055, 1067 (2018) (“attempted

service by Federal Express did not constitute valid service of process under California

law”).

         While the Court has discretion to extend the time for service even in the

absence of a showing of good cause, Thrasher v. City of Amarillo, 709 F.3d 509, 511

(5th Cir. 2013), Plaintiff has already been given an extension of time to serve

Defendants. Plaintiff will be provided a second extension of time to effectuate proper

service upon Defendants but is warned that if she fails to meet the second extended

deadline of June 6, 2023 for effectuating service of process, this case will be postured

for dismissal without prejudice under Federal Rule of Civil Procedure 4(m) and

without further notice to Plaintiff for failure to timely effectuate service of process.

         IT IS, THEREFORE, ORDERED that June 6, 2023 is the second extended

deadline for Plaintiff to file proof of effective service of process on Defendants.

         SO ORDERED, this the 16th day of May 2023.


                                         s/   Bradley W. Rath
                                         BRADLEY W. RATH
                                         UNITED STATES MAGISTRATE JUDGE

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